580 F.2d 1051
    6 O.S.H. Cas.(BNA) 2012
    Thermo Tech., Inc.v.U. S. Occupational Safety and Health Review Commission*
    No. 77-3438
    United States Court of Appeals, Fifth Circuit
    9/6/78
    
      1
      O.S.H.R.C.Tex.
    
    
      2
      AFFIRMED***
    
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        ***
         Opinion contains citation(s) or special notations
      
    
    